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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 1:20-cv-21993


  MARVELI RAYO,

         Plaintiff,

  v.

  I.C. SYSTEM, INC. and
  MD NOW MEDICAL CENTERS, INC.,

        Defendants.
  _____________________________________/

                     DEFENDANT I.C. SYSTEM, INC.’S ANSWER AND
                 AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

         COMES NOW, Defendant, I.C. SYSTEM, INC., and files this Answer and Affirmative

  Defenses to the Plaintiff’s Complaint and states:

                                    JURISDICTION AND VENUE

         1.      Admitted for jurisdictional purposes only, otherwise, denied.

         2.      Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         3.      Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

                                              PARTIES

         4.      Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         5.      Defendant admits it is a Minnesota corporation with a principal place of business

  located in St. Paul, Minnesota.
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             6.    Admitted that Defendant is in the business of collecting financial obligations and

  that it uses the telephone and mail in that regard. Otherwise, Defendant is without sufficient

  information to form an opinion regarding the veracity of the allegations in this paragraph of

  Plaintiff’s Complaint.

             7.    Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

             8.    This paragraph of Plaintiff’s Complaint is not directed at Defendant, therefore, no

  response is required. To the extent a response is required, however, Defendant is without

  sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

             9.    Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

                                    DEMAND FOR JURY TRIAL

             10.   Defendant admits Plaintiff demand a trial by jury on all counts and issues so

  triable.

                                     FACTUAL ALLEGATIONS

             11.   Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

             12.   Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

             13.   Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.




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         14.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         15.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         16.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         17.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         18.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         19.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         20.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         21.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         22.     Admitted that Defendant is in the business of collecting financial obligations.

  Otherwise, Defendant is without sufficient information to form an opinion regarding the veracity

  of the allegations in this paragraph of Plaintiff’s Complaint.

         23.     Admitted that Defendant is in the business of collecting financial obligations.

  Otherwise, Defendant is without sufficient information to form an opinion regarding the veracity

  of the allegations in this paragraph of Plaintiff’s Complaint.




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         24.     Admitted that Defendant is in the business of collecting financial obligations

  owed or due or asserted to be owed or due to another. Otherwise, Defendant is without sufficient

  information to form an opinion regarding the veracity of the allegations in this paragraph of

  Plaintiff’s Complaint.

         25.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         26.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         27.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         28.     Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         29.     Admitted to the extent “Exhibit A” attached to Plaintiff’s Complaint speaks for

  itself. Otherwise, Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         30.     Admitted to the extent “Exhibit A” attached to Plaintiff’s Complaint speaks for

  itself. Otherwise, Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

         31.     Admitted to the extent “Exhibit A” attached to Plaintiff’s Complaint speaks for

  itself. Otherwise, Defendant is without sufficient information to form an opinion regarding the

  veracity of the allegations in this paragraph of Plaintiff’s Complaint.

            COUNT I – 15 U.S.C. § 1692e and 1692e(2)(A) (against I.C. System, Inc.)




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         32.     Defendant incorporates and re-asserts its responses to paragraphs 1-31 as if fully

  re-stated herein.

         33.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         34.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         35.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         36.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,



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  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         37.     Denied.

         38.     Denied.

         39.     Denied.

         40.     Denied.

                 COUNT II – FLA. STAT. § 559.72(9) (against I.C. System, Inc.)

         41.     Defendant incorporates and re-asserts its responses to paragraphs 1-31 as if fully

  re-stated herein.

         42.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         43.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.




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         44.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         45.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         46.     Denied.

         47.     Denied.

         48.     Denied.

                      COUNT III – FLA. STAT. § 559.72(5) (against MD Now)

         49.     Defendant incorporates and re-asserts its responses to paragraphs 1-31 as if fully

  re-stated herein.

         50.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is




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  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         51.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         52.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         53.     This paragraph fails to comply with Rule 8(a)(2) as it does not contain “a short

  and plain statement of the claim showing that the pleader is entitled to relief.” Id. As such, the

  inclusion of this paragraph is not relevant to Plaintiff’s particularized claim against Defendant,

  and Defendant is not required to respond. To the extent a response is required, Defendant is

  without sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         54.     This paragraph of Plaintiff’s Complaint is not directed at Defendant, therefore, no

  response is required. To the extent a response is required, however, Defendant is without




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  sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         55.    This paragraph of Plaintiff’s Complaint is not directed at Defendant, therefore, no

  response is required. To the extent a response is required, however, Defendant is without

  sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         56.    This paragraph of Plaintiff’s Complaint is not directed at Defendant, therefore, no

  response is required. To the extent a response is required, however, Defendant is without

  sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

         57.    This paragraph of Plaintiff’s Complaint is not directed at Defendant, therefore, no

  response is required. To the extent a response is required, however, Defendant is without

  sufficient information to form an opinion regarding the veracity of the allegations in this

  paragraph of Plaintiff’s Complaint.

                                  AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

         Defendant asserts that if it is assumed, arguendo, that Defendant violated a statute as

  alleged in Plaintiff’s Complaint, which presupposition Defendant denies, such violation was not

  negligent or intentional, and resulted from a bona fide error, notwithstanding the maintenance of

  procedures reasonably adapted to avoid any such error.

                              SECOND AFFIRMATIVE DEFENSE




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           Defendant asserts, without admitting any liability whatsoever, that Plaintiff’s claims may

   be barred in whole or in part by the applicable statute of limitations found in the FDCPA and/or

   the FCCPA.

                                   DEMAND FOR A JURY TRIAL

           Defendant demands a trial by jury of all issues so triable.

           WHEREFORE, Defendant, respectfully requests this Court to DISMISS Plaintiff’s

   claims with prejudice and for any such other relief as this court deems just and proper.


                                                         Respectfully submitted by:

                                                          /s/ Joseph c. Proulx
                                                         JOSEPH C. PROULX, ESQ.
                                                         Florida Bar No.: 0056830
                                                         DALE T. GOLDEN, ESQ.
                                                         Florida Bar No.: 0094080
                                                         GOLDEN SCAZ GAGAIN, PLLC
                                                         201 North Armenia Avenue
                                                         Tampa, Florida 33609-2303
                                                         Phone: (813) 251-5500
                                                         Fax: (813) 251-3675
                                                         jproulx@gsgfirm.com
                                                         dgolden@gsgfirm.com
                                                         Counsel for Defendant, I. C. System, Inc.

                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 8, 2020, I electronically filed the foregoing with the Clerk of

   the Court using the CM/ECF. I also certify that the foregoing document is being served this day

   on all counsel either via transmission of Notices of Electronic Filing generated by CM/ECF or in

   some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing:




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                                            /s/ Joseph c. Proulx
                                           JOSEPH C. PROULX, ESQ.
                                           Florida Bar No.: 0056830
                                           DALE T. GOLDEN, ESQ.
                                           Florida Bar No.: 0094080
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                                           Counsel for Defendant, I. C. System, Inc.




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